                                UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF TENNESSEE
                                      at CHATTANOOGA

  DANIEL BRADLEY DAVIS,                             )
                                                    )
         Plaintiff,                                 )
                                                    )       No. 1:20-CV-98
  v.                                                )
                                                    )       Judge Collier
  ANDREW LAWRENCE BERKE, in his                     )       Magistrate Judge Lee
  official capacity as Mayor of Chattanooga,        )
  and the CITY OF CHATTANOOGA,                      )
                                                    )
         Defendants.                                )

                                        JUDGMENT ORDER

         On July 28, 2020, the Court ordered Plaintiff to show cause within fourteen days why this

  action should not be dismissed pursuant to Rule 4(m) of the Federal Rules of Civil Procedure for

  failure to serve process upon Defendants within the time required. (Doc. 14.) Fourteen days have

  passed, and Plaintiff has not responded.1

         Plaintiff’s action is DISMISSED WITHOUT PREJUDICE.

         SO ORDERED.

         ENTER:

                                                        /s/____________________________
                                                        CURTIS L. COLLIER
                                                        UNITED STATES DISTRICT JUDGE

ENTERED AS A JUDGMENT
    s/ John L. Medearis
   CLERK OF COURT




         1
            Plaintiff has also failed to notify the Court of a change in his address. (See Doc. 15 (July
  28, 2020, Order, mailed to the address Plaintiff provided the Court, returned as undeliverable).)
  “It is the duty of any party not represented by counsel to promptly notify the Clerk and the other
  parties to the proceedings of any change in his or her address.” E.D. Tenn. L.R. 83.13.


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